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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


    In re:                                                 Chapter 11

    BOY SCOUTS OF AMERICA AND                              Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                           (Jointly Administered)
                           Debtors.
                                                           Hearing Date: December 14, 2021 at 10:00 a.m. (ET)
                                                           Response Deadline: November 5, 2021 at 4:00 p.m. (ET)

        NOTICE OF DEBTORS’ FIFTH OMNIBUS (SUBSTANTIVE) OBJECTION TO
          CERTAIN (I) SUBSTANTIVE DUPLICATE CLAIMS, (II) NO LIABILITY
        CLAIMS, AND (III) REDUCE AND ALLOW CLAIMS (NON-ABUSE CLAIMS)

               PLEASE TAKE NOTICE that today, the above-captioned debtors and debtors in
possession (the “Debtors”) filed the Debtors’ Fifth Omnibus (Substantive) Objection to Certain (I)
Substantive Duplicate Claims, (II) No Liability Claims, and (III) Reduce and Allow Claims (Non-
Abuse Claims) (the “Objection”).

               PLEASE TAKE FURTHER NOTICE that responses, if any, to the Objection
must be (a) in writing; (b) filed with the Clerk of the Bankruptcy Court, 824 N. Market Street, 3rd
Floor, Wilmington, Delaware 19801, on or before November 5, 2021, at 4:00 p.m. (ET) (the
“Response Deadline”); and (c) served so as to be received on or before the Response Deadline by
the undersigned counsel to the Debtors.

               PLEASE TAKE FURTHER NOTICE that only responses made in writing and
timely filed and received, in accordance with the procedures above, will be considered by the
Bankruptcy Court at such hearing.

                PLEASE TAKE FURTHER NOTICE that a telephonic hearing on the Objection
will be held on December 14, 2021, at 10:00 a.m. (ET) before the Honorable Laurie Selber
Silverstein of the United States Bankruptcy Court for the District of Delaware.

          IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF REQUESTED IN THE OBJECTION WITHOUT
FURTHER NOTICE OR HEARING.




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      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
      identification number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311).
      The Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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Dated: October 15, 2021       MORRIS, NICHOLS, ARSHT & TUNNELL LLP
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                               – and –

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                               – and –

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                               ATTORNEYS FOR THE DEBTORS AND
                               DEBTORS IN POSSESSION




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